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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                                 Chapter 11

 FTX TRADING LTD., et al., 1                            Case No. 22-11068 (JTD)

           Debtors.                                     (Jointly Administered)

                                                        Ref. No. 831



                      ORDER SCHEDULING OMNIBUS HEARING DATES

          Pursuant to Del. Bankr. L.R. 2002-1(a), the Court has scheduled the following omnibus
hearing dates in the above-captioned proceedings:

                                   May 17, 2023 at 1:00 p.m. (ET)

                      June 28, 2023 at 1:00 p.m. (ET) (Interim Fee Hearing)

                                   July 19, 2023 at 1:00 p.m. (ET)




          Dated: March 8th, 2023                         JOHN T. DORSEY
          Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE
